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Case 2:20-cr-00018-JCM-EJY Document1 Filed 02/04/20 Page2of4

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COUNSEL/PARTIES OF RECORD

FEB ~4 2020

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Attorneys for the Plaintiff
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
UNITED STATES OF AMERICA,
SEALED
Plaintiff, CRIMINAL INDICTMENT
v. Case No. 2:20-cr- / #7

RENATO CONSUEGRA-CLEMENTE,
Aka “Tito,” and

FRANCISCO JAIVER MARES

Aka “Pancho,”,

Defendants.

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VIOLATIONS:

21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(A) (viii) —
Conspiracy to Distribute a Controlled Substance
(Methamphetamine)

21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) (viii) —
Distribution of a Controlled Substance With Intent
to Distribute (Methamphetamine)

21 U.S.C. §§ 841(a)(1), 841(b)(1)(B) (viii) —
Distribution of a Controlled Substance With Intent
to Distribute (Methamphetamine)

18 U.S.C. § 2 —- Aiding and Abetting

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THE GRAND JURY CHARGES THAT:

COUNT ONE
(Conspiracy to Distribute a Controlled Substance—Methamphetamine)

Beginning at a date unknown and continuing up to and including October 30, 2019, in the
State and Federal District of Nevada,

RENATO CONSUEGRA-CLEMENTE, Aka “Tito,” and
‘FRANCISCO JAIVER MARES, Aka “Pancho,”

defendants herein, did knowingly and intentionally combine, conspire, confederate, and agree with
each other and with persons known and unknown to commit an offense against the United States,
to wit: to distribute 500 grams or more of a mixture and substance containing a detectable amount
of methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States

Code, Sections 846 and 841(a)(1), (b)(1)(A)(viii).

COUNT TWO
(Distribution of a Controlled Substance-Methamphetamine)

On or about October 23, 2019, in the State and Federal District of Nevada,

RENATO CONSUEGRA-CLEMENTE, Aka “Tito,” and
, FRANCISCO JAIVER MARES, Aka “Pancho,”

defendants herein, aiding and abetting one another, did knowingly and intentionally distribute
50 grams or more of a mixture and substance containing a detectable amount of methamphetamine,
a Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1)
and (b)(1)(B) (vit) and Title 18, United States Code, Section 2.

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COUNT THREE .
(Distribution of a Controlled Substance-—Methamphetamine)

On or about October 29, 2019, in the State and Federal District of Nevada,

RENATO CONSUEGRA-CLEMENTE, Aka “Tito,” and
FRANCISCO JAIVER MARES, Aka “Pancho,”

defendants herein, aiding and abetting one another, did knowingly and intentionally distribute 500
grams or more of a mixture and substance containing a detectable amount of methamphetamine, a
Schedule II controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1)
and (b)(1)(A)(viii) and Title 18, United States Code, Section 2.

DATED: this 4" day of February, 2020.

A TRUE BILL:

/S/
FOREPERSON OF THE GRAND JURY

NICHOLAS A. TRUTANICH
United States Attorney

«

ALLISON REESE
Assistant United States Attorney

